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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                      2:06-cr-88-FtM-29SPC


ISAAC L. MARION

_____________________________

                                OPINION AND ORDER

       This matter came before the Court on February 22, 2007 for

sentencing.      Defendant made objections to the Presentence Sentence

concerning       his    criminal   history,   which   in   turn       requires   a

determination of defendant’s relevant conduct.             Defendant filed a

Memorandum Regarding Entry by Defendant Into Conspiracy (Doc. #125)

on    February    20,   2007,   and   the   government   filed    a    responsive

Sentencing Memorandum (Doc. #133) on March 2, 2007.                    The Court

makes the following determinations pursuant to Fed. R. Crim. P.

32(i)(3)(B).

       Defendant Isaac L. Marion Sr. (Marion Sr.) was named in two

counts of a three-count Indictment (Doc. #3).              Count One charged

that from an unknown date "but at least by in or about December

2000 through and including December 18, 2005" Marion Sr. and others

conspired to possess with intent to distribute five kilograms or

more of a mixture or substance containing a detectable amount of

cocaine.     Court Three charged that on or about July 15, 2005,
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Marion    Sr.    distributed     a     mixture     or     substance      containing    a

detectable amount of cocaine.

      The Presentence Report calculated defendant’s Criminal History

at Category II under the Sentencing Guidelines.                      Defendant objects

to the assessment of one point for a Driving Under the Influence

conviction, arguing that this conviction is not within the ten year

period    which    allows   it       to   be     scored      under    the     Sentencing

Guidelines. Whether the DUI conviction is counted is determined by

U.S. SENTENCING GUIDELINES MANUAL § 4A1.2(e)(2), which provides: “Any

other prior sentence that was imposed within ten years of the

defendant’s     commencement      of      the    instant     offense     is    counted.”

Defendant does not contest the Presentence Report’s statements that

he was arrested for DUI on March 8, 1990, and was convicted and

sentenced on October 26, 1991.            Thus, it is undisputed that the DUI

sentenced was “imposed” within the meaning of § 4A1.2(e)(2) on

October 26, 1991.     United States v. Adams, 403 F.3d 1257 (11th Cir.

2005); United States v. Arnold, 213 F.3d 894 (11th Cir. 2000).                      The

issue is whether October 26, 1991, is “within ten years of the

defendant’s commencement of the instant offense.”

      The relevant “instant offense” in this case is the conspiracy

count.    Defendant pled guilty to both charged counts pursuant to a

written   Plea    Agreement      (Doc.     #83).        In    the     Plea    Agreement,

defendant admitted that “[b]eginning by at least December 2000, the

defendant, Isaac L. Marion (Marion Sr.) became involved in the

distribution of controlled substances in the Fort Myers, Florida
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area.”      (Doc. #83, p. 15.)   Defendant and the government agree that

defendant sold cocaine in the Fort Myers, Florida area beginning by

at least December, 20001, but further agree that these sales were

not pursuant to or as a member of the conspiracy charged in Count

One.        The government now proffers, and defendant agrees, that

defendant did not become a member of the charged conspiracy until

2002.        Thus, defendant’s   literal commencement of the instant

offense is in 2002, when the parties agree he first became a member

of the charged conspiracy.        This is clearly outside the ten-year

window.

       The government correctly argues, however, that “commencement

of the instant offense” must include “relevant conduct” under the

Sentencing Guidelines.      Sentencing Conduct, § 4A1.2 app. n.8.       The

government asserts that the non-conspiracy sales of cocaine by

defendant in Fort Myers beginning in June, 2000 must be considered

relevant conduct.      So considered, the prior cocaine sales extend

the “instant offense” far enough back in time to come within the

ten year window for criminal history purposes.

       As pertinent to this case, “relevant conduct” includes all

acts and omissions committed by the defendant that occurred during

the commission of the offense of conviction, U.S. SENTENCING GUIDELINES

MANUAL § 1B1.3(a)(1), and acts and omissions committed by defendant

that were part of the same course of conduct or common scheme or

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      The government asserts that it can prove cocaine sales in
Fort Myers going back to June, 2000.
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plan as the offense of conviction.         U.S. SENTENCING GUIDELINES MANUAL §

1B1.3(a)(2).    “The Court broadly interprets the provisions of the

relevant conduct guideline.”       United States v. Behr, 93 F.3d 764,

765 (11th Cir. 1996).     The Background commentary to § 1B1.3 states

that “in a drug distribution case, quantities and types of drugs

not specified in the count of conviction are to be included in

determining the offense level if they were part of the same course

of conduct or part of a common scheme or plan as the count of

conviction.”     The issue in this case becomes whether the cocaine

sales which pre-date defendant’s 2002            joining of the charged

conspiracy are either part of the “same course of conduct” or part

of the same “common scheme or plan” as the Count One conspiracy.

      Under the Sentencing Guidelines, a “common scheme or plan”

requires that two or more offenses “must be substantially connected

to each other by at least one common factor, such as common

victims,   common   accomplices,    common     purpose   or   similar   modus

operandi.”     U.S. SENTENCING GUIDELINES MANUAL § 1B1.3 app. n.9(A).

Offenses which do not qualify as part of a common scheme or plan

may qualify as part of the “same course of conduct” “if they are

sufficiently connected or related to each other as to warrant the

conclusion that they are part of a single episode, spree, or

ongoing series of offenses.”       U.S. SENTENCING GUIDELINES MANUAL § 1B1.3

app. n.9(B). “Factors that are appropriate to the determination of

whether offenses are sufficiently connected or related to each

other to be considered as part of the same course of conduct

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include the degree of similarity of the offenses, the regularity

(repetitions) of the offenses, and the time interval between the

offenses.”     Id.      “When one of the above factors is absent, a

stronger   presence     of    at    least     one   of    the    other   factors    is

required.”     Id.

      The relevant conduct provision was designed to take account of

“a   pattern   of    misconduct     that     cannot      readily   be    broken    into

discrete, identifiable units that are meaningful for purposes of

sentencing,” and therefore “when illegal conduct does exist in

discrete, identifiable units apart from the offense of conviction,

the Guidelines anticipate a separate charge for such conduct.”

United States v. Maxwell, 34 F.3d 1006, 1010-11 (11th Cir. 1994).

To determine relevant conduct, the Court looks “to the ‘similarity,

regularity,     and    temporal     proximity’        between      the   offense    of

conviction and the uncharged conduct.”                United States v. Amedeo,

370 F.3d 1305, 1314 (11th Cir. 2004)(quoting Maxwell, 34 F.3d at

1011)); United States v. Blanc, 146 F.3d 847, 853 n.1 (11th Cir.

1998).       “We     must    consider       whether      there     are   distinctive

similarities between the offense of conviction and the remote

conduct that signal that they are part of a single course of

conduct rather than isolated, unrelated events that happen only to

be similar in kind.”          Id.     It is reversible error to consider

conduct which exists in discrete, identifiable units apart from the

offense of conviction as relevant conduct.                   Maxwell, 34 F.3d at

1011. While separately charged conduct which is dismissed pursuant

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to a plea agreement is not categorically excluded as relevant

conduct, the fact of a separate charge suggests that the dismissed

offense was sufficiently distinct from the offense of conviction.

Amedeo, 370 F.3d at 1315-16.

      The Court rejects defendant’s argument that conduct can only

be “relevant conduct” if committed during the time period of the

charged conspiracy or defendant’s participation in the charged

conspiracy.    Nothing in the definitions of “common scheme or plan”

or “same course of conduct” requires such a time restriction.

Events occurring prior to the charged conspiracy and prior to a

defendant’s entry into the conspiracy can properly be considered

relevant conduct.

      It is also clear that the Court may use uncharged, or even

acquitted conduct, in determining a defendant’s sentence.             United

States v. Faust, 456 F.3d 1342, 1347 (11th Cir. 2006).           This is so

even after United States v. Booker, 543 U.S. 220 (2005).              Faust,

456 F.3d at 1347-48.

      The   Court   finds,   however,      that   the   government   has   not

established that the pre-2002 sales of cocaine are part of relevant

conduct in this case.     The government has not shown a factual basis

which would allow the Court to find that the pre-conspiracy cocaine

sales are either part of the same course of conduct or part of the

same common scheme or plan.       All that is before the Court is that

defendant sold cocaine in the Fort Myers area before he joined the

conspiracy, and then sold cocaine in furtherance of the conspiracy
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after he joined it. The Eleventh Circuit has already rejected this

as a sufficient basis to find relevant conduct.          Maxwell, 34 F.3d

at 1011.

      Accordingly, it is now

      ORDERED:

      1.   Defendant’s objections to ¶¶ 29 and 31 are sustained, and

the one point in ¶ 29 is deleted.          Paragraph 31 is corrected to

reflect a total criminal history points of 1, and the resulting

criminal history category of I.

      2.   Defendant now qualifies for the safety valve, since both

sides agree he as satisfied all the requirements.             A two level

decrease for safety valve will be subtracted in ¶ 19 of the

Presentence Report.       Paragraph 23 becomes level 34, and ¶ 26

becomes a Total Offense Level of 31.

      3.   Paragraph 60 shall be corrected to reflect a total offense

level of 31 and a criminal history category of I, for a Sentencing

Guidelines range of 108-135 months.

      4.    Pursuant to Fed. R. Crim. P. 32(i)(3)(C), the U.S.

Probation Office is directed to append a copy of this Opinion and

Order to any copy of the presentence report made available to the

Bureau of Prisons.

      DONE AND ORDERED at Fort Myers, Florida, this           5th    day of

March, 2007.




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Copies:
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